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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             JUAN ARTURO              NAMUR-          :    CRIMINAL NO.
             MONTALVO,                                :    1:05-CR-0477-CC-GGB-16
                 Movant,                              :
                                                      :    CIVIL ACTION NO.
                   v.                                 :    1:11-CV-0897-CC-GGB
                                                      :
             UNITED STATES OF AMERICA,                :    MOTION TO VACATE
                 Respondent.                          :    28 U.S.C. § 2255

                ORDER ADOPTING THE REPORT AND RECOMMENDATION OF
                 THE MAGISTRATE JUDGE AS THE ORDER OF THIS COURT

                   This matter is before the Court on the Final Report and Recommendation

             (“R&R”) issued by United States Magistrate Gerrilyn G. Brill [Doc. 1620], and

             Movant’s Objections thereto, [Docs. 1628 and 1631]. In the R&R, Magistrate Judge

             Brill recommends denying Movant’s motion to vacate sentence under 28 U.S.C.

             § 2255.

                   Under 28 U.S.C. § 636(b)(1) and Rule 72 of the Federal Rules of Civil

             Procedure, the Court is obligated to conduct a de novo review of the portions of the

             R&R to which Movant has objected. The Court reviews the remainder of the R&R

             for plain error. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

             However, where a movant does not file specific objections to factual findings and

             recommendations of the magistrate judge, this Court need not perform a de novo




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             review. Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993) (citing inter alia

             Stokes v. Singletary, 952 F.2d 1567, 1576 (11th Cir. 1992); LoConte v. Dugger, 847

             F.2d 745, 750 (11th Cir. 1988)).

                   In the R&R [Doc. 1620], Magistrate Judge Brill recommends denying

             Movant’s § 2255 motion, because Movant’s ineffective assistance of counsel claims

             are without merit and his remaining claims are procedurally barred from

             consideration.

                   Movant raises approximately 135 objections to the R&R. [Docs. 1628 and

             1631]. Most of Movant’s objections are general, arguing that the R&R does not

             explain why an evidentiary hearing was not conducted and does not provide findings

             of fact and conclusions of law to support its findings. Movant’s general objections

             are without merit and are overruled.

                   With regard to the claims that Magistrate Judge Brill found were procedurally

             defaulted, Movant raises general objections that the R&R is incorrect in failing to

             address the merits of these claims. Movant’s objections are without merit. Movant

             failed to raise those procedurally defaulted grounds on appeal, and he has not met any

             of the exceptions to overcome the procedural bar for his failure to raise the claims.




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             Accordingly, Movant’s objections on the procedurally defaulted grounds for relief

             are overruled.

                   Movant makes a specific objection to the R&R’s finding with regard to Ground

             One. In Ground One, Movant argues that counsel was ineffective for failing to

             investigate and present exculpatory eyewitnesses. In his petition, Movant identified

             approximately fourteen people that he contends could have been interviewed and

             called as witnesses at trial. Magistrate Judge Brill found that, “[Movant] does not

             contend that these witnesses observed or knew anything about the events that formed

             the basis of the charges in the indictment.” [Doc. 1620 at 10]. Movant argues in his

             objections that these witnesses “all had sales ledgers with dates and times to

             affirmatively show that [Movant] was on his humble produce route when the

             Government’s criminal witnesses - - testifying under promises of reduced sentences -

             - said he was allegedly selling drugs.” [Doc. 1631 at 10]. Movant also contends that

             counsel was made aware of a co-defendant who would testify on Movant’s behalf.



                   The decision as to which witnesses to call to testify at trial is a strategic

             decision made by counsel, and “a court must not second-guess counsel’s strategy.”

             Chandler v. United States, 218 F.3d 1305, 1314 n.14 (11th Cir. 2000). Furthermore,

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             “[t]he mere fact that other witnesses might have been available or that other

             testimony might have been elicited from those who testified is not a sufficient ground

             to prove ineffectiveness of counsel.” Waters v. Thomas, 46 F.3d 1506, 1514 (11th

             Cir. 1995) (quotation and citation omitted); accord, e.g., Provenzano v. Singletary,

             148 F.3d 1327, 1333 (11th Cir. 1998). Movant has not shown that counsel performed

             deficiently in failing to call these witnesses, that these witnesses would confirm that

             he did not commit the conduct charged in the indictment, or that the result of his trial

             would have been different had counsel called these witnesses to testify at trial. Thus,

             Movant’s objection is overruled.

                   Movant also objects to the R&R’s finding on his Ground Three, which alleges

             that counsel was ineffective for failing to adequately prepare Movant to testify at

             trial. Movant argues that his claim is actually that counsel did not prepare Movant

             at all to testify at trial. [Doc. 1631 at 13]. Movant’s testimony at trial was consistent

             and he did not make any damaging admissions. As stated in the R&R, Movant

             testified that he was a legitimate businessman who sold produce, that his association

             with his co-defendants did not involve drugs, and that he did not knowingly

             participate in any drug transaction. [Doc. 1620 at 12]. Movant again does not show




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             how counsel’s alleged failure to prepare him to testify prejudiced him. Thus, his

             objection is overruled.

                   Movant also contends in his objections that the Court never ruled on his

             request for his entire case file in his motion to extend the time to amend and

             supplement his § 2255 motion. [Doc. 1515]. The Court previously denied another

             separate request by Movant for a copy of his case file. [Doc. 1600]. Thus, to the

             extent that this request was not ruled on by the Court’s previous order, the request is

             now DENIED.

                                                  Conclusion

                   For the foregoing reasons, IT IS HEREBY ORDERED that the Court

             ADOPTS AS ITS ORDER the Magistrate Judge’s Report and Recommendation

             over Petitioner’s Objections. Movant’s § 2255 motion [Doc. 1514] is DENIED.

                   IT IS FURTHER ORDERED that a certificate of appealability be DENIED.



                   IT IS SO ORDERED this 26th day of April, 2013.


                                              s/ CLARENCE COOPER
                                              CLARENCE COOPER
                                              SENIOR UNITED STATES DISTRICT JUDGE


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